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15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                     San Francisco Division
17
18   FEDERAL TRADE COMMISSION,                       Case No. C-12-2631-SC
19                  Plaintiff,
                                                     [PROPOSED] STIPULATED FINAL
20                                                   JUDGMENT AND ORDER FOR
            v.                                       PERMANENT INJUNCTION AND
21                                                   OTHER EQUITABLE RELIEF
     DR PHONE COMMUNICATIONS, INC.,
22   also d/b/a DRphonecom.com, and
23
     DAVID ROSENTHAL, individually and as an
24   officer of DR Phone Communications, Inc.,
25                 Defendants.
26
27
28


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 1             Plaintiff, the Federal Trade Commission (“FTC”), filed its Complaint for Permanent
 2   Injunction and Other Equitable Relief [ECF No. 1] (“Complaint”) against defendants DR Phone
 3
     Communications, Inc., also d/b/a DRphonecom.com, and David Rosenthal (collectively,
 4
     “Defendants”) on May 22, 2012, pursuant to Section 13(b) of the Federal Trade Commission
 5
 6   Act (“FTC Act”), 15 U.S.C. § 53(b).

 7             Defendants, having been represented by counsel, and acting by and through said
 8
     counsel, have consented to the entry of this Stipulated Final Judgment and Order for Permanent
 9
     Injunction and Other Equitable Relief (“Order”) without a trial or adjudication of any issue of
10
     law or fact herein. The FTC and Defendants hereby request the Court to enter this Order to
11
12   settle and resolve all matters of dispute between the FTC and Defendants in this action.

13             IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED as follows:
14                                                FINDINGS
15             1.     This is an action by the FTC instituted under Section 13(b) of the FTC Act, 15
16   U.S.C. § 53(b). Pursuant to this Section, the FTC has the authority to seek the relief contained
17   herein.
18             2.     This Court has jurisdiction over the subject matter of this case, and it has
19   jurisdiction over all parties hereto pursuant to 15 U.S.C. §§ 45(a), 53(b), and 28 U.S.C.
20   §§ 1331, 1337(a), and 1345.
21             3.     Venue is proper in the Northern District of California pursuant to 15 U.S.C.
22   § 53(b) and 28 U.S.C. §§ 1391(b) and (c).
23             4.     The acts and practices of the Defendants, as alleged in the Complaint, are in or
24   affecting commerce, as that term is defined in Section 4 of the FTC Act, 15 U.S.C. § 44.
25             5.     The facts that the FTC has stated in its Complaint, if true, would state a claim
26   upon which relief may be granted under Sections 5(a) and 13(b) of the FTC Act, 15 U.S.C.
27   §§ 45(a) and 53(b).
28


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 1             6.     Defendants have entered into this Order freely and without coercion, and they
 2   each acknowledge that they have read the provisions of this Order and are prepared to abide by
 3   them.
 4             7.     The undersigned, individually and by and through their counsel, have agreed that
 5   the entry of this Order resolves all matters of dispute arising from the conduct of the
 6   Defendants alleged in the Complaint in this action, up to the date of entry of this Order.
 7             8.     Defendants waive all rights to seek judicial review or otherwise challenge or
 8   contest the validity of this Order, and waive and release any claim they may have against the
 9   FTC, its employees, representatives, or agents.
10             9.     Defendants all agree that this Order does not entitle them individually or
11   collectively to seek or to obtain attorneys’ fees as a prevailing party under the Equal Access to
12   Justice Act, 28 U.S.C. § 2412, as amended by Pub. L. 104-121, 110 Stat. 847, 863-64 (1996),
13   and they further waive any rights to attorneys’ fees that may arise under said provisions of law.
14   The FTC and Defendants shall each bear their own costs and attorneys’ fees incurred in this

15   action.

16             10.    This Order is remedial in nature and no portion of any payments paid herein

17   shall be deemed or construed as payment of a fine, damages, penalty, or punitive assessment.

18             11.    This Order settles all matters of dispute between the FTC and Defendants in this

19   action. This Order is in addition to, and not in lieu of, any other civil or criminal remedies that

20   may be provided by law.

21             12.    Defendants neither admit nor deny any of Plaintiff’s allegations, other than

22   admitting the venue and jurisdictional facts, and except as set forth in Section III.F of this

23   Order.

24             13.    Entry of this Order is in the public interest.

25                                              DEFINITIONS

26             For the purpose of this Order, the following definitions shall apply:

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 1          1.      “Additional Charge” means any and all charges, other than a per minute rate,
 2   assessed for any use of a Prepaid Calling Card. The term “Additional Charge” includes, but is
 3   not limited to, maintenance fees, weekly fees, monthly fees, connection fees, hang-up fees,
 4   payphone fees, cell phone fees, access number fees, and charges, fees, taxes, or surcharges
 5   required or permitted by law or regulation.
 6          2.      “And” and “or” shall be understood to have both conjunctive and disjunctive
 7   meanings.
 8          3.      “Asset” means any legal or equitable interest in, right to, or claim to, any real,
 9   personal, or intellectual property including, but not limited to, chattel, goods, instruments,
10   equipment, fixtures, general intangibles, effects, leaseholds, contracts, mail or other deliveries,
11   shares or stock, securities, inventory, checks, notes, accounts, credits, receivables (as those
12   terms are defined in the Uniform Commercial Code), cash, trusts, including but not limited to
13   asset protection trusts, and reserve funds or other accounts associated with any payments
14   processed on behalf of any Defendant, including, but not limited to, such reserve funds held by

15   a payment processor, credit card processor, or bank.

16          4.      “Assisting others” includes, but is not limited to, providing any of the following

17   goods or services to another entity: (1) performing customer service functions, including, but

18   not limited to, charging consumers for products or services, or receiving or responding to

19   consumer complaints; (2) formulating or providing, or arranging for the formulation or

20   provision of, any promotional material; (3) providing names of, or assisting in the generation

21   of, potential customers; (4) performing promotional or marketing services of any kind,

22   including but not limited to, creating, hosting, or maintaining websites, or recruiting affiliates;

23   (5) providing customer relationship management services or products; (6) providing accounting

24   or financial management services; or (7) processing credit and debit card payments.

25          5.      “Clear and prominent” shall mean as follows:

26                  a.      In a print advertisement, promotional material (including all Point-of-

27                          Sale Materials), or instructional manual, the disclosure shall be in a type

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 1                        size and location sufficiently noticeable for an ordinary consumer to read
 2                        and comprehend it, in print that contrasts with the background against
 3                        which it appears.
 4                 b.     In an advertisement communicated through an electronic medium
 5                        (including, but not limited to, television, video, radio, and interactive
 6                        media such as the Internet and online services), the disclosure shall be
 7                        presented simultaneously in both the audio and video portions of the
 8                        advertisement. Provided, however, that in any advertisement presented
 9                        solely through video or audio means, the disclosure may be made
10                        through the same means in which the relevant claim is presented. The
11                        audio disclosure shall be delivered in a volume, speed, and cadence
12                        sufficient for an ordinary consumer to hear and comprehend it. The
13                        video disclosure shall appear on the screen in a type size and location, as
14                        well as for a duration, sufficient for an ordinary consumer to read and

15                        comprehend it in a print that contrasts with the background against which

16                        it appears. In addition to the foregoing, in interactive media the

17                        disclosure shall also be unavoidable and shall be presented prior to the

18                        consumer incurring any financial obligation.

19                 c.     On the Prepaid Calling Card and its packaging, the disclosure shall be in

20                        a type size and location sufficiently noticeable for an ordinary consumer

21                        to read and comprehend it, in print that contrasts with the background

22                        against which it appears.

23                 d.     The disclosure shall be in understandable language and syntax. Nothing

24                        contrary to, inconsistent with, or in mitigation of the disclosure shall be

25                        used in any advertisement, promotional material, Prepaid Calling Card,

26                        or its packaging.

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 1           6.       “Corporate Defendant” means DR Phone Communications, Inc., also d/b/a
 2   DRPhonecom.com, and its successors and assigns.
 3           7.       “Defendants” means the Individual Defendant and the Corporate Defendant,
 4   individually, collectively, or in any combination.
 5           8.       “Document” is synonymous in meaning and equal in scope to the usage of the
 6   term in Federal Rule of Civil Procedure 34(a), and encompasses both paper documents and
 7   electronically stored information, including: writings, drawings, graphs, charts, Internet sites,
 8   Web pages, Web sites, electronic correspondence, including e-mail, instant messages and text
 9   messages, photographs, audio and video recordings, contracts, accounting data, advertisements
10   (including, but not limited to, advertisements placed on the World Wide Web), FTP Logs,
11   Server Access Logs, USENET Newsgroup postings, World Wide Web pages, books, written or
12   printed records, handwritten notes, telephone logs, telephone scripts, receipt books, ledgers,
13   personal and business canceled checks and check registers, bank statements, appointment
14   books, computer records, and other data compilations from which information can be obtained

15   and translated, if necessary, through detection devices into reasonably usable form. A draft or

16   non-identical copy is a separate document within the meaning of the term.

17           9.        “Individual Defendant” means David Rosenthal.

18           10.      “Material” means any information or fact that is likely to affect a consumer’s

19   choice of, or conduct regarding, a product or service.

20           11.      “Person” means a natural person, organization, or other legal entity, including a

21   corporation, partnership, proprietorship, limited liability company, association, cooperative,

22   government or governmental subdivision or agency, or any other group or combination acting

23   as an entity.

24           12.      “Plaintiff” or “Commission” or “FTC” means the Federal Trade Commission.

25           13.      “Point-of-Sale Material” means any poster, sign, bulletin, advertisement, “take

26   one” card, hang-tag, tear-away, or other promotional material that is displayed at a location

27
28


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 1   where a Prepaid Calling Card is sold; such locations include, but are not limited to, stores,
 2   kiosks, and vending machines, as well as online points of sale.
 3          14.        “Prepaid Calling Card” means a card or other means that can be used to make
 4   one or more telephone calls that is or are represented as being paid for prior to placing the
 5   telephone call.
 6          15.        “Rate” means the applicable per minute rate for each individual destination
 7   served by a Prepaid Calling Card.
 8          16.        “Talk Minutes” means the number of calling minutes actually delivered by a
 9   Prepaid Calling Card to a particular destination.
10                                                 ORDER
11                                                     I.
12                                PROHIBITED BUSINESS ACTIVITIES
13          IT IS HEREBY ORDERED that, in connection with the advertising, distributing,
14   marketing, promotion, offering for sale, or sale of Prepaid Calling Cards, Defendants and their

15   officers, agents, servants, employees, and all other persons or entities in active concert or

16   participation with any of them who receive actual notice of this Order by personal service or

17   otherwise, whether acting directly or through any entity, corporation, subsidiary, division,

18   director, manager, member, affiliate, independent contractor, distributor, or other device, are

19   hereby permanently restrained and enjoined from:

20          A.         Making, or assisting others in making, any material misrepresentation, either

21   expressly or by implication, including, but not limited to, a misrepresentation concerning the

22   Talk Minutes and/or Rate; and

23          B.         Failing to make clear and prominent disclosure of all material limitations in any

24   advertisement, promotional material, instructional manual, packaging, or Prepaid Calling Card,

25   if such advertisement, promotional material, instructional manual, packaging, or Prepaid

26   Calling Card contains any express or implied representation regarding (i) the specific value

27   (e.g., $5) of a Prepaid Calling Card, (ii) the Talk Minutes and/or Rate, or (iii) any fee or charge

28


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 1   or the absence thereof (e.g., “No Connection Fees”). Such material limitations include, but are
 2   not limited to, the following, if applicable:
 3                  1.      The existence and amount of all fees or charges of any type, including,
 4                          but not limited to, maintenance fees, weekly fees, monthly fees,
 5                          connection fees, hang-up fees, payphone fees, cell phone fees, access
 6                          number fees, and when and under what circumstances such fees or
 7                          charges will apply when using a Prepaid Calling Card;
 8                  2.      That the number of advertised Talk Minutes and/or Rates are only
 9                          available on a single call;
10                  3.      Any limit on the period of time during which the number of advertised
11                          Talk Minutes and/or Rates are available; and
12                  4.      When a Prepaid Calling Card expires.
13          All disclosures required by this Section to be made in any advertisement, promotional

14   material, instructional manual, packaging, or Prepaid Calling Card shall be made in the same
15
     language as that principally used in such advertisement, promotional material, instructional
16
     manual, packaging, or Prepaid Calling Card.
17
18                                                    II.

19                                 MONITORING BY DEFENDANTS

20          IT IS FURTHER ORDERED that, for a period of five (5) years from the date of entry

21   of this Order, Defendants, in connection with the advertising, distributing, marketing,

22   promotion, offering for sale, or sale of Prepaid Calling Cards, are hereby permanently

23   restrained and enjoined from failing to:

24          A.      Obtain contact information from all distributors, sub-distributors, or retailers

25   who purchase Prepaid Calling Cards directly from Defendants. In the case of a natural person,
26   Defendants shall obtain the first and last name, physical address, and telephone number of any
27
     such distributor or retailer. In the case of a business entity, Defendants shall obtain the first and
28


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 1   last name, physical address, and telephone number of the natural person who owns, manages, or
 2   controls the distributor or retailer;
 3
             B.      Direct all distributors or sub-distributors who purchase Prepaid Calling Cards
 4
     directly from Defendants to: (i) promptly provide Point-of-Sale Materials that comply with the
 5
 6   terms and conditions of this Order, when such materials are provided by Defendants, to the sub-

 7   distributors of the distributors or retail accounts of the sub-distributors; and (ii) instruct their
 8
     sub-distributors or retail accounts to remove Point-of-Sale Materials that do not comply with
 9
     the terms and conditions of this Order on a prompt and timely basis, or, in the case of sub-
10
     distributors, to direct the sub-distributors to instruct their retail accounts to remove Point-of-
11
12   Sale Materials that do not comply with the terms and conditions of this Order on a prompt and

13   timely basis;
14
             C.      Direct all retailers who purchase Prepaid Calling Cards directly from Defendants
15
     to remove Point-of-Sale Materials that do not comply with the terms and conditions of this
16
17   Order on a prompt and timely basis;

18           D.      Establish, implement, and thereafter maintain a procedure for disseminating any
19   new Point-of-Sale Materials and Prepaid Calling Cards that comply with the provisions of this
20
     Order (“Compliant Materials”) to all distributors, sub-distributors, and retailers of Defendants’
21
     Prepaid Calling Cards before the prior Compliant Materials expire;
22
23           E.      Establish, implement, and thereafter maintain a procedure for directing that all

24   retailers of Defendants’ Prepaid Calling Cards (i) display, in a visible and conspicuous manner,
25   new Compliant Materials at the time such retailers receive them; and (ii) discard expired
26
     Compliant Materials at the time such retailers receive the new Compliant Materials;
27
28


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 1          F.       To the extent permitted by state or federal law, immediately terminate the
 2   relationship with any direct distributor or sub-distributor of Defendants’ Prepaid Calling Cards
 3
     that Defendants reasonably conclude has refused to (i) promptly offer Point-of-Sale Materials
 4
     that comply with the terms and conditions of this Order to such distributor’s sub-distributors or
 5
 6   retail accounts, (ii) direct such distributor’s retail accounts to remove Point-of-Sale Materials

 7   that do not comply with the terms and conditions of this Order, or (iii) direct the sub-
 8
     distributors of such distributor to direct the sub-distributors’ retail accounts to remove Point-of-
 9
     Sale Materials that do not comply with the terms and conditions of this Order;
10
            G.       To the extent permitted by state or federal law, immediately terminate the
11
12   relationship with any retailer that purchases Prepaid Calling Cards directly from Defendants

13   where Defendants reasonably conclude that such retailer has refused to promptly discard Point-
14
     of-Sale Materials that do not comply with the terms and conditions of this Order;
15
            H.       Establish, implement, and thereafter maintain a procedure for routinely
16
17   monitoring the Talk Minutes, Rates, and/or Additional Charges provided by and/or assessed by

18   the applicable telecommunications carriers (“Carriers”) to ensure that there are no Additional
19   Charges, and the Talk Minutes and/or Rates are accurately disclosed to consumers on Prepaid
20
     Calling Cards or promotional material for such cards throughout the time period they are in
21
     effect, including, but not limited to:
22
23                  1.      obtaining in writing from the applicable Carrier the number of Talk

24                          Minutes, Rates, and/or Additional Charges (for example, a “rate deck”)
25                          prior to the dissemination of any Compliant Materials and the date up
26
                            to which the number of Talk Minutes and/or Rates will be in effect;
27
28


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 1                  2.      testing a random sample of Prepaid Calling Cards to confirm that there
 2                          are no Additional Charges, and the number of Talk Minutes and/or
 3
                            Rates represented to consumers are actually delivered;
 4
                    3.      obtaining and analyzing a random sample of call detail records, which
 5
 6                          Defendants will make best efforts to obtain from the Carrier, to confirm

 7                          that there are no Additional Charges, and the number of Talk Minutes
 8
                            and/or Rates represented to consumers are actually delivered;
 9
                    4.      making best efforts to obtain in writing from the Carrier any changes to
10
                            the number of Talk Minutes, Rates, and/or Additional Charges, and the
11
12                          time period those changes are in effect; and

13                  5.      maintaining complete and accurate written records of all of the
14
                            foregoing, including any records of discrepancies between the number
15
                            of Talk Minutes, Rates, and/or Additional Charges represented to
16
17                          consumers and what is actually delivered and/or assessed by the

18                          Carrier.
19          I.      Take reasonable steps to remedy the failure of any Carrier to provide accurate,
20
     sufficient, or timely information necessary for Defendants to comply with the monitoring
21
     provisions of this Order, including, but not limited to, terminating the relationship with any
22
23   such Carrier to the extent permitted by state or federal law;

24          J.      Establish, implement, and thereafter maintain a procedure for ensuring that
25   Compliant Materials and website representations: (i) reflect the accurate number of Talk
26
     Minutes and/or Rates; and (ii) contain clear and prominent disclosures of all Material
27
28


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 1   Limitations;
 2          K.      Notify the Carrier in writing of any complaints Defendants receive, through any
 3
     source, regarding (i) the alleged failure of a Prepaid Calling Card to provide the advertised
 4
     number of Talk Minutes and/or Rates or (ii) the imposition on a consumer of any Additional
 5
 6   Charges;

 7          L.      Make best efforts to obtain from the Carrier copies or other written notice of
 8
     any complaints the Carrier receives, through any source, regarding (i) the alleged failure of a
 9
     Prepaid Calling Card to provide the advertised number of Talk Minutes and/or Rates or (ii) the
10
     imposition on a consumer of any Additional Charges; and
11
12          M.      Make best efforts to obtain from the Carrier a written explanation in response to

13   all such complaints.
14
                                                    III.
15
                                         MONETARY RELIEF
16
            IT IS FURTHER ORDERED that:
17
            A.      Judgment in the amount of Sixty-One Thousand, Five Hundred and Ninety-
18
     Seven dollars ($61,597.00) is entered in favor of the FTC and against Defendants jointly and
19
     severally.
20
            B.      Within ten (10) days of the date of entry of this Order, Defendants, in
21
     accordance with directions provided by counsel for the Commission, shall pay to the
22
     Commission by wire transfer, certified check, electronic fund transfer, or money order, the sum
23
     of Sixty-One Thousand, Five Hundred and Ninety-Seven dollars ($61,597.00).
24
            C.      Any funds transferred or paid to the FTC pursuant to this Order shall be
25
     deposited into a fund administered by the Commission or its agents to be used for equitable
26
     relief, including, but not limited to, redress to consumers, and any attendant expenses for the
27
     administration of such equitable relief. In the event that direct redress to consumers is wholly
28


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 1   or partially impracticable or funds remain after the redress is completed, the Commission may
 2   apply any remaining funds for such other equitable relief (including consumer information
 3   remedies) as it determines to be reasonably related to Defendants’ practices alleged in the
 4   Complaint. Any funds not used for such equitable relief shall be deposited to the United States
 5   Treasury as disgorgement. Defendants shall have no right to challenge the Commission’s
 6   choice of remedies under this Section.
 7          D.      Defendants shall have no right to contest the manner of distribution chosen by
 8   the Commission. No portion of any payment under the Judgment herein shall be deemed a
 9   payment of any fine, penalty, or punitive assessment.
10          E.      Defendants relinquish all dominion, control, and title to the funds paid to the
11   fullest extent permitted by law. Defendants shall make no claim to or demand for return of the
12   funds, directly or indirectly, through counsel or otherwise.
13          F.      Defendants agree that the facts as alleged in the Complaint filed in this action
14   shall be taken as true without further proof in any bankruptcy case or subsequent civil litigation

15   pursued by the Commission to enforce its rights to any payment or money judgment pursuant to

16   this Order, including but not limited to a nondischargeability complaint in any bankruptcy case.

17   Defendants further stipulate and agree that the facts alleged in the Complaint establish all

18   elements necessary to sustain an action by the Commission pursuant to Section 523(a)(2)(A) of

19   the Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and that this Order shall have collateral

20   estoppel effect for such purposes.

21          G.      In accordance with 31 U.S.C. § 7701, Defendants are hereby required, unless

22   they have done so already, to furnish to the Commission their taxpayer identification numbers

23   and/or social security numbers, which shall be used for the purposes of collecting and reporting

24   on any delinquent amount arising out of Defendants’ relationship with the government.

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 1                                                   IV.
 2                                    ORDER ACKNOWLEDGMENTS
 3          IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of
 4   this Order as follows:
 5
            A.      Each Defendant, within seven (7) days of entry of this Order, must submit to the
 6
     Commission an acknowledgment of receipt of this Order sworn under penalty of perjury.
 7
 8          B.      For five (5) years after entry of this Order, the Individual Defendant for any

 9   business that he, individually or collectively with Corporate Defendant, is the majority owner or
10   directly or indirectly controls, and the Corporate Defendant, must deliver a copy of this Order
11
     to: (i) all principals, officers, directors, and managers who participate in the advertising,
12
     distributing, marketing, promotion, offering for sale, or sale of Prepaid Calling Cards; (ii) all
13
14   employees, agents, and representatives who participate in the advertising, distributing,

15   marketing, promotion, offering for sale, or sale of Prepaid Calling Cards; (iii)
16
     telecommunications carriers that do business with Defendants related to the subject matter of
17
     the Order; (iv) all distributors, sub-distributors, or retailers who purchase Prepaid Calling Cards
18
19   directly from any Defendant; and (v) any business entity resulting from any change in structure

20   as set forth in the Section titled “Compliance Reporting.” Delivery must occur within seven (7)
21   days of entry of this Order for current personnel. To all others, delivery must occur before they
22
     assume their responsibilities.
23
            C.      From each of the following individuals or entities to which a Defendant
24
25   delivered a copy of this Order, that Defendant must obtain, within thirty (30) days, a signed and

26   dated acknowledgment of receipt of this Order: (i) all principals, officers, directors, and
27   managers who participate in the advertising, distributing, marketing, promotion, offering for
28


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 1   sale, or sale of Prepaid Calling Cards; (ii) all employees, agents, and representatives who
 2   participate in the advertising, distributing, marketing, promotion, offering for sale, or sale of
 3
     Prepaid Calling Cards; and (iii) any business entity resulting from any change in structure as set
 4
     forth in the Section titled “Compliance Reporting.”
 5
 6                                                    V.

 7                                    COMPLIANCE REPORTING

 8          IT IS FURTHER ORDERED that Defendants make timely submissions to the

 9   Commission as follows:
10          A.      One hundred and eighty (180) days after entry of this Order, each Defendant
11
     must submit a compliance report, sworn under penalty of perjury.
12
                    1.      Each Defendant must: (a) designate at least one telephone number and
13
14                          an email, physical, and postal address as points of contact, which

15                          representatives of the Commission may use to communicate with
16
                            Defendant; (b) identify all of that Defendant’s businesses by all of their
17
                            names, telephone numbers, and physical, postal, email, and Internet
18
19                          addresses; (c) describe the activities of each business, including the

20                          products and services offered, the means of advertising, marketing, and
21                          sales, and the involvement of any other Defendant (which the Individual
22
                            Defendant must describe if he knows or should know due to his own
23
                            involvement); (d) describe in detail whether and how that Defendant is in
24
25                          compliance with each Section of this Order; and (e) provide a copy of

26                          each Order Acknowledgment obtained pursuant to this Order, unless
27                          previously submitted to the Commission;
28


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 1                    2.     Additionally, the Individual Defendant must: (a) identify all telephone
 2                           numbers and all email, Internet, physical, and postal addresses, including
 3
                             all residences; (b) identify all titles and roles in all business activities,
 4
                             including any business for which the Defendant performs services
 5
 6                           whether as an employee or otherwise and any entity in which the

 7                           Defendant has any ownership interest; and (c) describe in detail the
 8
                             Defendant’s involvement in each such business, including title, role,
 9
                             responsibilities, participation, authority, control, and any ownership.
10
            B.        For ten (10) years following entry of this Order, each Defendant must submit a
11
12   compliance notice, sworn under penalty of perjury, within fourteen (14) days of any change in

13   the following:
14
                      1.     Each Defendant must report any change in: (a) any designated point of
15
                             contact; or (b) the structure of the Corporate Defendant or any entity that
16
17                           Defendant has any ownership interest in or directly or indirectly controls

18                           that may affect compliance obligations arising under this Order,
19                           including: creation, merger, sale, or dissolution of the entity or any
20
                             subsidiary, parent, or affiliate that engages in any acts or practices
21
                             subject to this Order.
22
23                    2.     Additionally, the Individual Defendant must report any change in: (a)

24                           name, including aliases or fictitious names, or residence address; or (b)
25                           title or role in any business activity, including any business for which the
26
                             Defendant performs services whether as an employee or otherwise and
27
28


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 1                           any entity in which the Defendant has any ownership interest, and
 2                           identify its name, physical address, and Internet address, if any.
 3
             C.      Each Defendant must submit to the Commission notice of the filing of any
 4
     bankruptcy petition, insolvency proceeding, or any similar proceeding by or against such
 5
 6   Defendant within fourteen (14) days of its filing.

 7           D.      Any submission to the Commission required by this Order to be sworn under
 8
     penalty of perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by
 9
     concluding: “I declare under penalty of perjury under the laws of the United States of America
10
     that the foregoing is true and correct. Executed on:_____” and supplying the date, signatory’s
11
12   full name, title (if applicable), and signature.

13           E.      Unless otherwise directed by a Commission representative in writing, all
14
     submissions to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or
15
     sent by overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,
16
17   Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

18   Washington, DC 20580. The subject line must begin: FTC v. DR Phone Communications, Inc.
19   and David Rosenthal, FTC No. X120029.
20
                                                        VI.
21
                                            RECORDKEEPING
22
             IT IS FURTHER ORDERED that Defendants must create certain records for twenty
23
24   (20) years after entry of the Order, and retain each such record for five (5) years. Specifically,

25   Corporate Defendant engaged in any acts or practices subject to this Order and the Individual
26   Defendant for any business in which he, individually or collectively with Corporate Defendant,
27
     is a majority owner or directly or indirectly controls, must maintain the following records in
28


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 1   connection with the advertising, distributing, marketing, promotion, offering for sale, or sale of
 2   Prepaid Calling Cards:
 3
            A.      Accounting records showing the revenues from all goods or services sold, all
 4
     costs incurred in generating those revenues, and the resulting net profit or loss;
 5
 6          B.      Personnel records showing, for each person providing services, whether as an

 7   employee or otherwise, that person’s: name, addresses, and telephone numbers; job title or
 8
     position; dates of service; and, if applicable, the reason for termination;
 9
            C.      Complaints and refund requests, whether received directly or indirectly, such as
10
     through a third party, and any response;
11
12          D.      Copies of all sales scripts, training materials, and advertisements or other

13   promotional materials, including but not limited to, Point-of-Sale Materials, newspaper
14
     advertisements, radio or television advertisements, websites, e-mail messages, instant
15
     messages, Internet “pop-up” advertisements, Internet banner advertisements. The foregoing
16
17   documents must be maintained in the size and color in which they were created, disseminated,

18   or used;
19          E.      Exemplars of all types, brands, and versions of Prepaid Calling Cards sold (both
20
     the front and back of each card, as well as any “hang-tag” or “tear-off” portion of such cards),
21
     in the size and color in which each card was sold;
22
23          F.      Copies of all rate decks, call logs, and other documents that reflect the advertised

24   Talk Minutes and/or Rates, any Additional Charges, and the number of Talk Minutes and/or
25   Rates and Additional Charges actually delivered or imposed on consumers, for each Prepaid
26
     Calling Card sold;
27
28


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 1             G.     Documents sufficient to disclose the date on which the documents required to be
 2   maintained under sub-paragraphs D, E, and F of this Section were issued or created; and
 3
               H.     All records necessary to demonstrate full compliance with each provision of this
 4
     Order, including all submissions to the Commission.
 5
 6                                                   VII.

 7                                   COMPLIANCE MONITORING
 8
               IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’
 9
     compliance with this Order, including any failure to transfer any assets as required by this
10
     Order:
11
12             A.     Within fourteen (14) days of receipt of a written request from a representative of

13   the Commission, each Defendant must: submit additional compliance reports or other
14
     requested information, which must be sworn under penalty of perjury; appear for depositions;
15
     and produce documents, for inspection and copying. The Commission is also authorized to
16
17   obtain discovery, without further leave of court, using any of the procedures prescribed by

18   Federal Rules of Civil Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45,
19   and 69.
20
               B.     For matters concerning this Order, the Commission is authorized to
21
     communicate directly with each Defendant. Defendant must permit representatives of the
22
23   Commission to interview any employee or other person affiliated with any Defendant who has

24   agreed to such an interview. The person interviewed may have counsel present.
25             C.     The Commission may use all other lawful means, including posing, through its
26
     representatives, as consumers, suppliers, or other individuals or entities, to Defendants or any
27
28


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 1   Attorney for DEFENDANTS DAVID ROSENTHAL
     AND DR PHONE COMMUNICATIONS, INC.
 2
 3
     IT IS SO ORDERED, this ____            April
                             24 day of ____________________, 2013.
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                                                U.S. DISTRICT JUDGE SAMUEL CONTI




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